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 1                               UNITED STATES DISTRICT COURT

 2                                      DISTRICT OF NEVADA

 3 DAVON LYONS,                                            Case No.: 2:19-cv-00966-APG-NJK

 4             Petitioner,                               Order Granting Unopposed Motion for
                                                                Enlargement of Time
 5 v.
                                                                        [ECF No. 58]
 6 WARDEN BRIAN WILLIAMS, et al.,

 7             Respondents.

 8            Respondents have filed an unopposed motion for enlargement of time (first request) (ECF

 9 No. 56),1 asking for additional time to file an answer to the second amended petition (ECF No.

10 22). I find good cause exists to grant the motion.

11            IT IS THEREFORE ORDERED that respondents' unopposed motion for enlargement of

12 time (first request) (ECF No. 56) is GRANTED. Respondents will have up to and including

13 January 3, 2022, to file an answer to the second amended petition.

14            DATED: December 2, 2021

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                                                         ANDREW P. GORDON
                                                         UNITED STATES DISTRICT JUDGE
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         The corrected document is at ECF No. 58.
